                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                Plaintiff,        )    Civil Action No. ______
                                  )
     v.                           )    JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                Defendant.        )
                                  )

                               EXHIBIT B




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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                TEAS Plus Application
                                                                       Serial Number: 86914580
                                                                       Filing Date: 02/21/2016

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                     The table below presents the data as entered.

                                          Input Field                                                                    Entered
             TEAS Plus                                                                  YES
             MARK INFORMATION
             *MARK                                                                      CBD MD
             *STANDARD CHARACTERS                                                       YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            CBD MD
                                                                                        The mark consists of standard characters, without claim to any
             *MARK STATEMENT
                                                                                        particular font, style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             Majik Medecine, LLC
             *STREET                                                                    629 Village Lane South
             *CITY                                                                      Mandeville
             *STATE
             (Required for U.S. applicants)
                                                                                        Louisiana

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
             (Required for U.S. applicants)
                                                                                        70471

             PHONE                                                                      985-259-5040
             EMAIL ADDRESS                                                              XXXX
             LEGAL ENTITY INFORMATION
             *TYPE                                                                      LIMITED LIABILITY COMPANY
             * STATE/COUNTRY WHERE LEGALLY ORGANIZED                                    Louisiana
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             * INTERNATIONAL CLASS                                                      003
             *IDENTIFICATION                                                            Skin and body topical lotions, creams and oils for cosmetic use
             *FILING BASIS                                                              SECTION 1(b)


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* INTERNATIONAL CLASS                        005
                                             Medicinal creams for skin care; Medicinal herbal preparations;
*IDENTIFICATION
                                             Medicinal oils; Herbs for medicinal purposes
*FILING BASIS                                SECTION 1(b)
* INTERNATIONAL CLASS                        035
                                             On-line wholesale store services featuring cosmetic and
*IDENTIFICATION                              herbal products; On-line wholesale store services featuring
                                             cbd sales
*FILING BASIS                                SECTION 1(b)
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

                                             No claim is made to the exclusive right to use CBD apart from
DISCLAIMER
                                             the mark as shown.
CORRESPONDENCE INFORMATION
*NAME                                        Majik Medecine, LLC
FIRM NAME                                    Majik Medecine, LLC
*STREET                                      629 Village Lane South
*CITY                                        Mandeville
*STATE
                                             Louisiana
(Required for U.S. addresses)

*COUNTRY                                     United States
*ZIP/POSTAL CODE                             70471
PHONE                                        985-259-5040
*EMAIL ADDRESS                               aabundanthealth@aol.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL         Yes
FEE INFORMATION
APPLICATION FILING OPTION                    TEAS Plus
NUMBER OF CLASSES                            3
FEE PER CLASS                                225
*TOTAL FEE PAID                              675
SIGNATURE INFORMATION
* SIGNATURE                                  /christy peachey/
* SIGNATORY'S NAME                           christy peachey
* SIGNATORY'S POSITION                       Owner

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SIGNATORY'S PHONE NUMBER                 985-259-5040
* DATE SIGNED                            02/21/2016




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OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                     TEAS Plus Application

                                                                       Serial Number: 86914580
                                                                       Filing Date: 02/21/2016
To the Commissioner for Trademarks:

MARK: CBD MD (Standard Characters, see mark)
The literal element of the mark consists of CBD MD.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, Majik Medecine, LLC, a limited liability company legally organized under the laws of Louisiana, having an address of
   629 Village Lane South
   Mandeville, Louisiana 70471
   United States
   985-259-5040(phone)
   XXXX (not authorized)

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 003: Skin and body topical lotions, creams and oils for cosmetic use
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services. (15 U.S.C. Section 1051(b)).

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 005: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services. (15 U.S.C. Section 1051(b)).

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 035: On-line wholesale store services featuring cosmetic and herbal products; On-line wholesale store services featuring
cbd sales
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services. (15 U.S.C. Section 1051(b)).


Disclaimer
No claim is made to the exclusive right to use CBD apart from the mark as shown.


The applicant's current Correspondence Information:
     Majik Medecine, LLC
     Majik Medecine, LLC
     629 Village Lane South
     Mandeville, Louisiana 70471
     985-259-5040(phone)
     aabundanthealth@aol.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of $50 per international class of goods/services.

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A fee payment in the amount of $675 has been submitted with the application, representing payment for 3 class(es).

                                                                    Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant has a bona fide intention, and is entitled, to use the mark in
commerce on or in connection with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and
belief, no other persons, except, if applicable, concurrent users, have the right to use the mark in commerce, either in the identical form or in such
near resemblance as to be likely, when used on or in connection with the goods/services of such other persons, to cause confusion or mistake, or
to deceive. The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
§ 1001, and that such willful false statements and the like may jeopardize the validity of the application or any registration resulting therefrom,
declares that all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.


Signature: /christy peachey/ Date Signed: 02/21/2016
Signatory's Name: christy peachey
Signatory's Position: Owner



RAM Sale Number: 86914580
RAM Accounting Date: 02/22/2016

Serial Number: 86914580
Internet Transmission Date: Sun Feb 21 18:25:21 EST 2016
TEAS Stamp: USPTO/FTK-XX.XXX.XXX.XX-2016022118252111
4778-86914580-550288f1743469aa5a038969c2
17638c32348b9936cff787ff58a9a553f1acff52
4-CC-8217-20160221172830387766




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